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                                IN THE UNITED STATES DISTRICT COURT
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                                  EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,                        CASE NO. 2:10-CR-305 MCE

12                              Plaintiff,            SEALING ORDER

13                         v.

14   SARA SHIRAZI,

15                              Defendant.

16
17          Good cause appearing, and pursuant to Local Rule 141, the documents submitted by the

18 government on March 26, 2015, including the Request to Seal, are hereby sealed.
19          IT IS SO ORDERED.

20 Dated: April 1, 2015
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